 

 

Case 3:13-cv-00019-JBA Document 56-3 Filed 12/16/13 Page 1of5

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT
ROBERTO VELEZ, ET AL
Plaintiffs ; CIVIL ACTION NO.:
; 3:13 CV-00019 (RNC)
VS.

NEW HAVEN BUS SERVICE, INC., ET AL

Defendants | . December 6% 2013

AFFIDAVIT OF DONALD RELIHAN

I, being duly sworn, depose and say that;

i. ° Iam over the age of eighteen years and believe in the obligation of an oath.

2. I am employéd by Yale University as the Director of Support Services. In that
position, I was responsible for managing Yale University’s contract with New Haven Bus
Service, Inc. pursuant to which New Haven Bus Service, Inc. provided shuttle bus service for
Yale University until the expiration of that contract.

3. Under its contract with New Haven Bus Service, Inc. Yale University did not
have the ability to hire, fire or discipline any of the plaintiffs or any individuals employed by
New Haven Bus Service, Inc, Before hiring its employees, New Haven Bus Service, Inc.
ensured that the applicant had a valid Connecticut CDL license with a passenger endorsement
and a valid Connecticut Public Service license. New Haven Bus Service, Inc, also required
that applicants submit to a drug screening and a driving record check. The applicants then °

were required to undergo vehicle operation tests. All of these activities were initiated and

 

 
 

Case 3:13-cv-00019-JBA Document 56-3 Filed 12/16/13 Page 2 of 5

directed by New Haven Bus Service, Inc, without any participation from Yale University.
Yale University did not participate in the hiring process of New Haven Bus Service, Inc.
4. Yale University did not set, supervise or control the plaintiffs’ work schedules.
| Yale University informed New Haven Bus Service, Inc. of the required routes for the shuttle
buses, New Haven Bus Service, Inc. then assigned and dispatched its employees to drive the
required routes. Yale University did not determine which drivers drove which routes on which
| days. Yale University also did not determine, or monitor, the number of hours worked by the
plaintiffs ot any individuals employed by New Haven Bus Service, Inc.

5, Yale University did not supervise or control the plaintiffs’ conditions of
employment, Yale University did not manage the plaintiffs or any other individuals employed
by New Haven Bus Service, Inc. New Haven Bus Service, Inc. provided the training it
deemed appropriate for its employees, reviewed its employees’ performance as it deemed
appropriate and managed its employees as it deemed appropriate without direction from Yale
University. Yale University was not involved in any of these activities.

6. Yale University did not determine the rate or method of payment for the
plaintiffs or any other individuals employed by New Haven Bus Service, Inc. Yale University
did not pay the plaintiffs or any other individuals employed by New Haven Bus Service, Inc.
for driving shuttle buses for Yale University.

7, Yale University did not maintain any employment records, personnel files, time
sheets, pay stubs, or government employment forms for the plaintiffs or any other individuals

employed by New Haven Bus Service, Inc,

 

 
 

 

Case 3:13-cv-00019-JBA Document 56-3 Filed 12/16/13 Page 3 of 5

8, While some of the vehicles driven by New Haven Bus Service, Inc. employees
for routes required by Yale University were owned by Yale University, New Haven Bus
Service, Inc. also owned and supplied some of the vehicles used on routes required by Yale
University.

9, The vehicles owned by Yale University and used by the plaintiffs and other
employees of New Haven Bus Service, Inc. were housed at premises owned by New Haven
Bus Service, Inc. The plaintiffs and other employees of New Haven Bus Service, ine. reported
to, and began driving their Yale University shuttle bus routes from, the premises owned by
New Haven Bus Service, Ino, They also delivered the buses to the premises of New Haven
Bus Service, Inc. at the conclusion of their routes.

10. The plaintiffs and other individuals employed by New Haven Bus Service, Inc.
were not part of a business organization that shifted as a unit from one company to another.
Yale University did not require that New Haven Bus Service, Inc. or any of the individuals
employed by it, work exclusively for the University. In fact, New Haven Bus Service, Inc.
provided bus service for customers other than Yale University and assigned the drivers they
deemed appropriate to both Yale University and non- Yale University routes,

11. Yale University’s primary focus is providing educational services. While a
convenience for its employees and students, providing shuttle bus service is not integral to the
work of Yale University.

12, The plaintiffs and other individuals employed by New Haven Bus Service, Inc.

only drove buses on the Yale shuttle bus routes to the extent that New Haven Bus Service, Inc.

 

 
 

Case 3:13-cv-00019-JBA Document 56-3 Filed 12/16/13 Page 4 of 5

directed them. After the contract with New Haven Bus Service, Inc. expired, Yale University
entered into a contract with First Transit, a different vendor. When that occurred
| approximately two thirds of the New Haven Bus Service, Inc. employees who had driven on
the Yale shuttle bus routes were hired by First Transit. Yale University did not mandate that
' First Transit hire those drivers and was not. involved im the hiring process at First Transit, Yale
University has also not been involved in supervising, managing or disciplining the employees
of First Transit who are assigned by First Transit to operate buses on the Yale shuttle bus

4

routes.

Dated at New Haven, Connecticut this 6 'n day of December, 2013,

ph hlb

Donald Relihan

 

 

 
 

Case 3:13-cv-00019-JBA Document 56-3 Filed 12/16/13 Page 5 of 5

STATE OF CONNECTICUT )
) ss. New Haven
COUNTY OF NEW HAVEN )

a

Subscribed and sworn to before me this ,_" day of December, 2013.

Mg) bald,

Notary Public RICHARD. OE ARLBERG

NG TARY PUBLIC -
MY commission EXPIRES MARCH ai ants

CERTIFICATION .

I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.

/sf
Patrick M. Noonan

 

 
